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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

 J.P. CAREY LIMITED PARTNERS L.P.
 TRILLIUM PARTNERS, L.P. and FRONDEUR
 PARTNERS, LLC

                Plaintiffs
                                                              No: 1:25-cv-00214-KK-SCY
 v.

 DAVID MICHAEL REES, DAVID ROBERT FAIR, and
 MELISSA HANDLEY

                Defendants.


            NOTICE OF GOOD STANDING OF ASSOCIATING ATTORNEY

       Sutin, Thayer & Browne APC (Christina M. Gooch), counsel for Plaintiff J.P. Carey

Limited Partners L.P. (“J.P. Carey”) and Trillium Partners, L.P. (“Trillium”), hereby gives notice

to the Court that pursuant to D.N.M.LR-Civ 83.3, attorney Jon Uretsky of the law firm PULLP is

in good standing as a member of the New York State Bars and is associating with local counsel of

Sutin, Thayer & Browne, APC.

                                                    Respectfully submitted,

                                                    SUTIN, THAYER & BROWNE
                                                    A Professional Corporation


                                                    By: ____________________________
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                                                  Jon Uretsky (pro hac vice forthcoming)
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                                                  Attorneys for Plaintiffs


                              CERTIFICATE OF SERVICE

        I CERTIFY that on March 13, 2025, the foregoing pleading was electronically filed and
served through the CM/ECF System on all counsel of record.

SUTIN, THAYER & BROWNE
A Professional Corporation



By: ____________________________
      Christina Muscarella Gooch




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